Case 1:21-cv-10417-RWZ Document 26-5 Filed 02/04/22 Page 1 of 8




                      Exhibit E
        Case 1:21-cv-10417-RWZ Document 26-5 Filed 02/04/22 Page 2 of 8




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

 IEP Technologies, LLC,

                Plaintiff,

           v.
                                                           Civil Action No.
 KPM Analytics, Incorporated f/k/a Statera Analytics       1:21-cv-10417-RWZ
 Incorporated and KPM Analytics North America
 Corporation f/k/a Process Sensors Corporation,

                Defendants.


                  PLAINTIFF’S SECOND SUPPLEMENTAL OBJECTIONS
                   AND RESPONSES TO DEFENDANTS’ FIRST SET OF
                  INTERROGATORIES (NOS. 2-6, and 13) TO PLAINTIFF

       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff IEP

Technologies, LLC (hereinafter “Plaintiff” or “IEP”) provides its second supplemental

objections and responses to Defendants KPM Analytics, Incorporated f/k/a Statera Analytics

Incorporated and KPM Analytics North America Corporation f/k/a Process Sensors Corporation

(collectively, “Defendants”) First Set of Interrogatories to Plaintiff (Nos. 1-22) as follows:


                PRELIMINARY STATEMENT AND GENERAL OBJECTIONS

       IEP incorporates by reference the Preliminary Statement and General Objections from its

Plaintiff’s Objections and Responses to Defendants’ First Set Of Interrogatories (Nos. 1-22) To

Plaintiff, dated August 6, 2021.




                                                  1
        Case 1:21-cv-10417-RWZ Document 26-5 Filed 02/04/22 Page 3 of 8




available.

FIRST SUPPLEMENTAL RESPONSE:

       IEP employee Sawyer Hamblin, Regional Sales Manager, brought Defendants’ use of the

mark to IEP’s attention.

       Discovery is ongoing and Plaintiff reserves the right to amend, revise, clarify, and/or

supplement its response or otherwise change its response as additional information becomes

available.

SECOND SUPPLEMENTAL RESPONSE:

       In February 2020, Sawyer Hamblin saw Defendants’ infringing marks on the Powder and

Bulk Solid’s website as an exhibitor for their 2020 tradeshow, which was subsequently

cancelled. That month, Mr. Hamblin brought the mark to the attention of David Grandaw and

John Shea at IEP, noting the similarities to IEP’s marks.

       Discovery is ongoing and Plaintiff reserves the right to amend, revise, clarify, and/or

supplement its response or otherwise change its response as additional information becomes

available.



INTERROGATORY NO. 3: Identify and fully describe each and every good or service ever

sold or offered for sale in connection with or relation to Plaintiff’s Mark.

RESPONSE:

       IEP objects to this Interrogatory to the extent it is vague, ambiguous, overbroad, and not

proportional to the needs of this action, including because it seeks information to “identify and

fully describe each and every good or service ever sold or offered for sale . . ..” IEP objects to

this Interrogatory to the extent it seeks information, documents, or things protected by attorney-


                                                  4
        Case 1:21-cv-10417-RWZ Document 26-5 Filed 02/04/22 Page 4 of 8




client privilege, work-product immunity, common interest privilege, or any other applicable

privilege, protection, or immunity. IEP objects to this Interrogatory to the extent it seeks a legal

conclusion.

       Subject to and without waiver of the foregoing objections and General Objections, and to

the extent IEP understands this Interrogatory, IEP states as follows:

       IEP Technologies is the worldwide leading provider of explosion protection systems and


services. Since around July 2013, IEP has used sold products/services under its            mark, and

variants thereof. Among other products and services, IEP has sold and offered for sale safety

equipment for suppression, isolation and venting of explosions, namely, explosive containment

vessels and structural parts therefor; safety hardware systems comprised of electronic and static

sensors, electronic control units, suppressors, isolation valves, and vents sold as a unit for use in

detecting and mitigating the effects of industrial process explosions; computer hardware,

software, and peripherals for operating explosion safety equipment; installation and maintenance

of safety equipment for detection, prevention, and abatement of explosions; and new product

research and design services in the field of safety equipment and hardware. Information


regarding goods and services sold under IEP’s           mark can be found at IEP’s website:

www.ieptechnologies.com.

       Pursuant to Federal Rule of Civil Procedure 33(d), Plaintiff intends to produce

responsive, non-privileged documents, to the extent they exist and can be located after a

reasonable search, from which answers to portions of this Interrogatory may be derived or

ascertained




                                                  5
        Case 1:21-cv-10417-RWZ Document 26-5 Filed 02/04/22 Page 5 of 8




       Discovery is ongoing and Plaintiff reserves the right to amend, revise, clarify, and/or

supplement its response or otherwise change its response as additional information becomes

available.

FIRST SUPPLEMENTAL RESPONSE:

       Specific products and services provided by IEP are identified in at least the following

documents, which are identified pursuant to Fed. R. Civ. P. 33(d):

       IEP000002-IEP000005, IEP000010-IEP000011, IEP000013-IEP000014, IEP000258,

IEP000268-IEP000269, IEP000291-IEP000298, IEP000303-IEP000304, IEP000333-

IEP000344, IEP001649-IEP001650, IEP001669 - IEP001670, IEP001687, IEP001688-

IEP001689, IEP001690-IEP001691, IEP001692-IEP001693, IEP001694-IEP001695,

IEP001696-IEP001697, IEP001698-IEP001699, IEP001700-IEP001701, IEP001702-

IEP001703, IEP001704-IEP001705, IEP001706-IEP001707, IEP001708-IEP001709,

IEP001710-IEP001711, IEP001730-IEP001731, IEP001734-IEP001735, IEP001746-

IEP001747, IEP001748-IEP001749, IEP001750-IEP001751, IEP001752-IEP001753,

IEP001754, IEP001755-IEP001756, IEP001757-IEP001758, IEP001762, IEP001776 -

IEP001777, IEP002060 - IEP002061, IEP002221-IEP002222, IEP002223-IEP002224,

IEP002225-IEP002227, IEP002228-IEP002229, IEP002230-IEP002231, IEP002232-

IEP002233, IEP002234-IEP002235, IEP002236-IEP002237, IEP002238-IEP002239,

IEP002240-IEP002241, IEP002242-IEP002257, IEP002258-IEP002259, IEP002260-

IEP002261, IEP002262-IEP002263, IEP002264-IEP002265, IEP002266-IEP002267,

IEP002268-IEP002269, IEP002270-IEP002271, IEP002272-IEP002273, IEP001641-1762,

IEP001766-IEP001777, IEP002056-IEP002073, IEP003302-IEP004219




                                                6
        Case 1:21-cv-10417-RWZ Document 26-5 Filed 02/04/22 Page 6 of 8




       Discovery is ongoing and Plaintiff reserves the right to amend, revise, clarify, and/or

supplement its response or otherwise change its response as additional information becomes

available.

SECOND SUPPLEMENTAL RESPONSE:

       IEP sells products and services in the following categories: materials testing, explosion

protection (including explosion vents, isolation devices, and explosion suppressors), spark

detection and extinguishing, and engine explosion detection. The documents identified in this

response show exemplary products in these categories.

       Discovery is ongoing and Plaintiff reserves the right to amend, revise, clarify, and/or

supplement its response or otherwise change its response as additional information becomes

available.



INTERROGATORY NO. 4: For each of the goods and services identified in response to

Interrogatory No. 3, for each year since Plaintiff began using Plaintiff’s Mark, state the dollar

amount of the annual sales of each such good and service and the dollar amount of annual

advertising and promotional expenditures attributed to each such good and service, along with

identification of all documents sufficient to show these amounts.

RESPONSE:

       IEP objects to this Interrogatory to the extent it is vague, ambiguous, overbroad, and not

proportional to the needs of this action, including because it seeks information regarding “each

of the goods and services,” “each good and service,” “each such good and service,” and “all

documents.” IEP objects to this Interrogatory to the extent it seeks information, documents, or

things protected by attorney-client privilege, work-product immunity, common interest privilege,


                                                 7
        Case 1:21-cv-10417-RWZ Document 26-5 Filed 02/04/22 Page 7 of 8




SECOND SUPPLEMENTAL RESPONSE:

       IEP sells products and services in the following categories: materials testing, explosion

protection (including explosion vents, isolation devices, and explosion suppressors), spark

detection and extinguishing, and engine explosion detection. Products in these categories have


been sold under IEP’s        mark since the          mark was adopted in 2013.

       Discovery is ongoing and Plaintiff reserves the right to amend, revise, clarify, and/or

supplement its response or otherwise change its response as additional information becomes

available.




   Dated: January 21, 2022               IEP Technologies, LLC,


                                         /s/ Stephen F.W. Ball, Jr._____________
                                         Stephen F.W. Ball, Jr. (BBO # 670092)
                                         Robert D. Keeler (pro hac vice)
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                                         Attorneys for Plaintiff,
                                         IEP Technologies, LLC




                                                16
        Case 1:21-cv-10417-RWZ Document 26-5 Filed 02/04/22 Page 8 of 8




                                CERTIFICATE OF SERVICE

      This is to certify that on this 21st day of January, 2022, a true and correct copy of the
 foregoing PLAINTIFF’S SECOND SUPPLEMENTAL OBJECTIONS AND
 RESPONSES TO DEFENDANTS’ FIRST SET OF INTERROGATORIES (NOS. 2-6
 and 13) TO PLAINTIFF was served via electronic mail on counsel for Defendants as
 follows:


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Jan. 21, 2022                                        /s/ Stephen F.W. Ball, Jr.
Date




                                               17
